                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF TENNESSEE


 JANE DOE, a minor, by her parents and
 next friends JOHN DOE and JUDY
 DOE, JOHN DOE, in his individual
 capacity, and JUDY DOE, in her
 individual capacity,
                                                   FILE NO. 3:22-CV-00560
                   Plaintiffs,

         v.                                        JURY DEMAND

 ROBERT PIRAINO, MUSIC CITY
 FENCING CLUB, INC., and UNITED
 STATES FENCING ASSOCIATION,

                   Defendants.



                BRIEF IN SUPPORT OF PLAINTIFFS’ MOTION
                    TO PROCEED UNDER PSEUDONYM
        Plaintiffs respectfully request that the Court enter an order allowing Plaintiffs

to proceed in this lawsuit using the pseudonyms “Jane Doe,” “John Doe,” and “Judy

Doe.”

                                   BACKGROUND
        This is a child sexual abuse case. Plaintiffs allege that Defendant Robert Pi-

raino, an Olympic fencing coach, sexually abused Plaintiff Jane Doe, a minor, during

the course of her participation in fencing activities. Compl. ¶¶ 69-110. They have

brought this action against Piraino, Defendant Music City Fencing Club, Inc., which

is the fencing club where Piraino was owner and head coach, and Defendant United

States Fencing Association, which is the national governing body for the sport of fenc-

ing. The Complaint includes claims for intentional infliction of emotional distress,
assault and battery, negligence, violations of the federal Trafficking Victims


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Protection Act (18 U.S.C. §§ 1589, 1591, and 1594), and violations of the federal child

pornography laws (18 U.S.C. § 2251).

      The Complaint does not identify Plaintiffs by name and instead uses the pseu-

donyms “Jane Doe,” “John Doe,” and “Judy Doe.” Plaintiff Jane Doe was 11 years old

when she met Defendant Piraino and 13 years old when he began sexually abusing

her. Compl. ¶¶ 70-71. She is still a minor. Plaintiffs John Doe and Judy Doe are Jane

Doe’s parents.

                                    ARGUMENT
      The Court should allow Plaintiffs to proceed in this lawsuit using the pseudo-

nyms “Jane Doe,” “John Doe,” and “Judy Doe” in all filings. The general rule is that

a complaint in federal court “must name all the parties.” Fed. R. Civ. P. 10(a). A dis-

trict court has discretion, however, to allow a plaintiff to proceed under a pseudonym.

Doe v. Porter, 370 F.3d 558, 560 (6th Cir. 2004). In considering whether to allow a

plaintiff to proceed under a pseudonym, the district court should consider four factors:

“(1) whether the plaintiffs seeking anonymity are suing to challenge governmental

activity; (2) whether prosecution of the suit will compel the plaintiffs to disclose in-

formation ‘of the utmost intimacy’; (3) whether the litigation compels plaintiffs to dis-

close an intention to violate the law, thereby risking criminal prosecution; and (4)

whether the plaintiffs are children.” Id. The first and third factors are not at issue—
Plaintiffs are not challenging governmental activity and have no intention of violat-

ing any law. The second and fourth factors, however, weigh in favor of allowing Plain-

tiffs to proceed under pseudonyms. Moreover, there would be no harm to Defendants

in granting this request.

      The prosecution of this suit will compel Plaintiff Jane Doe to disclose

information of the utmost intimacy. District courts routinely allow child victims
of sexual assault to proceed under pseudonyms in civil actions. See, e.g., Doe v.


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Rutherford Cnty., Tenn., Bd. of Educ., 86 F. Supp. 3d 831, 837, n.1 (M.D. Tenn. 2015).

There is no reason for this case to be an exception. Defendant Piraino sexually abused

Plaintiff Jane Doe for nearly two years. Compl. ¶ 69-110. He manipulated, pressured,

and coerced her into sending him photos and videos of herself naked, semi-naked, and

engaging in sexually explicit conduct. Compl. ¶ 74-88. He sent her videos of him mas-

turbating and having sex with women and underage girls. Compl. ¶ 96. He groped

and fondled her at fencing events. Compl. ¶ 98. He described to her how he intended

to rape her. Compl. ¶ 99. The details of these events are highly intimate. Compelling

Jane Doe to publicly litigate those details will expose her to a substantial risk of em-

barrassment, ridicule, and shame.

      Plaintiff Jane Doe is a child. “The vulnerability of children is of special

concern” and, for this reason, children are granted a “heightened protection” when

determining whether to allow a plaintiff to proceed using a pseudonym. K.G. v. Bd.

of Educ. of Woodford Cnty., No. 5:18-CV-555-JMH, at *4 (E.D. Ky. Sept. 18, 2019).

Plaintiff Jane Doe was 13 years old when Defendant Piraino started abusing her and

is still a minor. Her parents are adults, but the disclosure of their names would effec-

tively disclose Jane Doe’s identity because the three of them share the same last

name. Thus, this factor weights in favor of granting Plaintiffs’ Motion.
      Granting this motion will not affect Defendants’ ability to defend this

lawsuit. Finally, granting this motion will not prejudice Defendants. To be clear,

Plaintiffs are not seeking to withhold their identities from Defendants—they seek

only1 to avoid disclosing their names in papers filed with the Court. Plaintiffs believe

that all three Defendants already know Jane Doe’s true identity. To the extent that




1 Plaintiffs are likely to seek further protective orders during discovery. The only
  relief Plaintiffs seek through this Motion, however, is the Court’s approval to use
  pseudonyms in public filings.
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Defendants claim not to know, Plaintiffs have no objection to disclosing Jane Doe’s

identity subject to a suitable protective order.

                                   CONCLUSION
      Granting this motion is within the Court’s discretion, is consistent with routine

practice, will protect a child victim of sexual abuse from substantial risk of public

ridicule and embarrassment, and will not prejudice Defendants. For these reasons,

the Court should enter an order allowing Plaintiffs to proceed in this lawsuit under

the pseudonyms “Jane Doe,” “John Doe,” and “Judy Doe.”
      Respectfully submitted this 10th day of August, 2022.


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                          CERTIFICATE OF SERVICE

       Pursuant to Local Rule 5.01, I certify that the foregoing Brief in Support of
Plaintiffs’ Motion to Proceed Under Pseudonym was this date served on the following
by electronic filing with the Court’s CM/ECF system and by regular mail:

                             William R. Johnson, Esq.
                                     Partner
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and on the following by regular mail:

                             Robert Piraino, Inmate
                                 OCA No. 527805
                   Nashville/Davidson County Sheriff’s Office
                                 P.O. Box 196383
                            Nashville, TN 37219-6383
                                  Defendant and
                Registered Agent for Defendant Music City Fencing

      This 10th day of August, 2022.



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